                                                                      U S DISTRICT COURT
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                                                                   1 of  11DISTRICT ARKANSAS


                         IN THE UNITED STATES DISTRICT COURT JA
                             EASTERN DISTRICT OF ARKANSAS    BM                         , CLERK
                                   EASTERN DIVISION           y:-trt--;-tJL......:F--.,,=-=--=-~-




 DEBORAH RALPH

                          Plaintiff,
                                                       Civil Action No.   ?_ ·. \S-C V -OL\ \-ts\'\
        -against-

 PORTFOLIO RECOVERY ASSOCIATES,                        JURY TRIAL DEMANDED
 LLC
 A Virginia Corporation

                          Defendant.                      This case assigned to Distric! ~d:e Mi Ilef
                                                          and to Magistrate Judge       \I pe....

                                       ORIGINAL COMPLAINT

             Plaintiff, Deborah Ralph (Ralph), by her undersigned counsel brings this action against


Portfolio Recovery Associates, LLC (Portfolio), and states:


                        STATEMENT OF JURISDICTION AND VENUE


       1.        Jurisdiction of this Court arises pursuant to 28 U.S.C. §1331, 15 U.S.C.

§1692k(d) and 15 U.S.C. §1681p.


       2.         This action arises out of Defendant's violations of the Fair Debt Collection

Practices Act, 15 U.S.C. §1692, et seq. and violations of the Fair Credit Reporting Act, 15 U.S.C.

§1681, et seq.

        3.       The acts and events complained of in this Complaint occurred within Phillips

County, Arkansas.


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        4.      Venue is proper pursuant to 28 U.S.C. §1391(b)(2) because the events giving rise

to the claims occurred here, Plaintiff resides here, and Defendant transacts business here.

                                         PARTIES TO THE CLAIM

        5.      The avennents set forth in paragraphs 14 are adopted herein and incorporated as if

set forth word for word.


        6.      Ralph is a resident of Lexa, Phillips County, Arkansas, and is a "consumer" as

defined by 15 U.S.C. §1692a(3), and/or "any person" as defined by 15 U.S.C. §1692d;

        7.      At the time of the incident described further herein, Portfolio was a corporation

duly authorized to conduct business in the State of Arkansas as a "debt collector," as that term is

defined by 15 U.S.C. §1692a(6) and is registered and licensed with the Arkansas State Board of

Collection Agencies, and attempting to collect a "debt," as defined in 15 U.S.C. §1692a(5).

        8.      Portfolio is being served via its registered agent:

                                Corporation Service Company
                                300 Spring Building, Suite 900
                                300 S. Spring Street
                                Little Rock, AR 72201

                                    FACTUAL BACKGROUND
        9.      The avennents set forth in paragraphs 1-8 are adopted herein and incorporated as if

set forth word for word.


        10.     Portfolio filed a lawsuit against Ralph in the District Court of Phillips County,

Arkansas on January 2, 2015 alleging a consumer debt.

        11.     The lawsuit and attached affidavit alleges Ralph defaulted on a credit card account

obligation with the original creditor, GE Capital Retail Bank. A copy of that suit is attached hereto

as "Exhibit 1" and incorporated as if set forth word for word.
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       12.     Portfolio asserted it purchased and was assigned the account.

       13.     The Complaint filed by Portfolio, and the attached affidavit, reflect an amount due

of$1,092.97.

       14.     Upon information and belief, the amount charged off by the original creditor was

$719.00.

       15.     Upon information and belief, the date of default was January 2013.

       16.     Upon information and belief, the amount claimed in the lawsuit filed by Portfolio

contains interest and late charges accrued after the default date, as well as after it was charged off

by the original creditor.

       17.     The Truth in Lending Act (TILA) regulates the type of account at issue in this case.

       18.     TILA requires a creditor to send periodic statements to the debtor each billing cycle

ifthere is an outstanding balance on an account where a finance charge is imposed. 15 U.S.C.

§1637(b).

       19.     That required periodic statement must contain certain required information which

describes what and how the creditor is assessing interest and finance charges. 15 U.S. C. §163 7(b).

      20.      Consistent with 15 U.S.C. §1637(b), Regulation Z also requires creditors to "mail

or deliver a periodic statement as required by (12 C.F.R.) §226.7 for each billing cycle at the end

of which an account has a debit or credit balance of more than $1 or on which a finance charge

has been imposed." Id. At 12 C.F.R. §226.5(b)(2)(i).

      21.      However, Regulation Z provides exceptions to this requirement that periodic

statements be sent and enables creditors to not send those required periodic statements if the

creditor does certain things.

      22.      One of those exceptions is ifthe creditor has charged off the account in accordance

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with loan-loss provisions and will not charge any additional fees or interest on the account. 12

C.F.R. §226.5(b)(2)(i).

      23.     Therefore, under applicable regulations, GE Capital Retail Bank was required to

send periodic statements to Ralph until it "charged-off the account in accordance with loan-loss

provisions and will not charge any additional fees or interest on the account."        12 C.F.R.

§226.S(b)(2)(i).

      24.     Previous to the alleged purchase of the account by Portfolio from GE Capital Retail

Bank, GE Capital Retail Bank charged off an account alleged to have been incurred by Ralph.

      25.     Because GE Capital Retail Bank had charged off the account, it was not required

to send periodic statements to Ralph as would otherwise be required by law.

      26.     Therefore, after charging off the account, GE Capital Retail Bank did not send any

billing statements regarding the account to Ralph.

      27.     GE Capital Retail Bank took advantage of the charge off exception to enable it to

not be required to send periodic billing statements.

      28.     The legal trade-off for entitling GE Capital Retail Bank to take advantage of the

charge off exception is that it was precluded by law from charging any additional fees or interest

on the account.

      29.     Therefore, after the account was written off, GE Capital Retail Bank was precluded

by law from charging additional fees or interest on the account because it had not sent out the

periodic statements.

      30.     Portfolio professes to be in the same shoes as GE Capital Retail Bank due to its

purchase and assignment of the account.

      31.     Portfolio would not acquire any greater rights than GE Capital Retail Bank had at

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the time of the alleged purchase.

       32.    By assessing interest and other charges for which there was no legal basis, Portfolio

is in violation of 15 U.S.C §1692f(l) which prohibits a debt collector from collection of any

amount (including any interest, fee, charge, or expense incidental to the principal obligation)

unless such amount is expressly authorized by the agreement creating the debt or permitted by

law.

       33.    By assessing charges, namely interest and late charges after the date of default,

which are not authorized by the agreement or law, Portfolio is in violation of 15 U.S.C. §1692e(5)

by taking action that cannot legally be taken.

       34.    The Complaint further requests costs and for all other proper relief.

       35.    Because "costs and all other proper relief' are not authorized by the agreement

creating the debt, the Complaint seeks to collect amounts not authorized by contract in violation

of 15 U.S.C. §1692f(l).

       36.    By not attaching the agreement upon which it is suing, Portfolio is making a false

representation of the character, amount, or legal status of the debt in violation of 15 U.S.C.

§1692e(2)(A).

       37.    By not attaching the agreement upon which it is suing, Portfolio is engaging in

unfair or unconscionable means in its attempt to collect the alleged debt in violation of15 U.S.C.

§1692f.

       38.    Portfolio attached no evidence that it purchased the debt from the original creditor

and; thus, is taking action which cannot legally be taken in violation of 15 U.S.C. §1692e(5).

       39.    Portfolio is in violation of 15 U.S.C. §1692e(10) by making false representations

and engaging in deceptive means in attempting to collect the debt by its inability to document any


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 agreement between Ralph and any creditor.

       40.      At the time it commenced the action against Ralph, Portfolio possessed insufficient

 evidence and intended not to further investigate in violation of 15 U.S.C. §1692(e)(5).

        41.     Upon information and belief, the principal amount charged off by the original

 creditor was $719.00.

       42.      The Complaint filed by Portfolio requests a judgment in the principal amount of

 $1,092.97.

        43.     Portfolio is attempting to collects amounts not expressly authorized by the

 agreement creating the debt or permitted by law in violation of 15 U.S.C. §1692f(l).

       44.      Portfolio is seeking to collect amounts not owed in violation of 15 U.S.C.

 §1692e(2)(A) which prohibits the false representation of the character, amount, or legal status of

 any debt.

       45.      By attempting to collect an amount not owed by Ralph, Portfolio is in violation of

 15 U.S.C. §1692e(2)(A) which prohibits the false representation of the character, amount, or legal

 status of any debt.

       46.      Portfolio's conduct violates the FDCPA for which strict liability applies pursuant

 to 15 U.S.C. §1692, et seq.

       47.      Portfolio's conduct violates the FDCPA for which statutory damages apply

 pursuant to 15 U.S.C. §1692k(a)(2)(A).

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

        48.     The averments set forth in paragraphs 1-47 are adopted herein and incorporated as

if set forth word for word.




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        49.    Portfolio is in violation of the following sections of the Fair Debt Collection

Practices Act as alleged above:

               a.       15 U.S.C. §1692e(2)(A): Making a false representation of the character,

amount, or legal status of any debt;

               b.       15 U.S.C. §1692e(5): Taking action that cannot legally be taken or that is

not intended to be taken;

               c.       15 U.S.C. §1692e(10): The use of any false representation or deceptive

means to collect any debt;

               d.       15 U.S.C. §1692f: Using unfair or unconscionable means to collect or

attempt to collect any debt;

               e.       15 U.S.C. §1692f(l): The collection of any amount unless such amount is

expressly authorized by the agreement creating the debt or permitted by law.

                       VIOLATION OF THE FAIR CREDIT REPORTING ACT

       50.     The averments contained in paragraphs 1-49 are hereby incorporated as if set

forth word for word.

       51.     Portfolio asserted it purchased the Ralph account from GE Capital Retail Bank on

or about August 20, 2013 and asserted the balance owed was $1,092.97.

       52.     Upon information and belief, GE Capital Retail Bank reported to the credit

reporting agencies that the amount charged off was $719.00

       53.     Portfolio reported to the credit reporting agencies a balance owed of$1,092.97.

       54.     Portfolio, despite actual knowledge of the amount allegedly owed by Ralph,

reported to all three credit reporting agencies that Ralph was indebted to Portfolio in an amount




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in excess of the amount charged off by the original creditor in violation of 15 U.S.C. 168ls-

2(a)(l)(A).

                                           DAMAGES

        55.   The averments set forth in paragraphs 1-54 are adopted herein and incorporated as if

set forth word for word.


        56.    As a direct and proximate result of the occWTence made the basis of this lawsuit,

Ralph is entitled to the following damages:

               a actual costs, expenses and attorney fees pursuant to 15 U.S.C §1692(k)(a)(3);
               b. statutory damages in the maximum amount of: $1,000.00 pursuant to 15 U.S.C.
§ 1692(k)(a)(2)(A).
               c. actual damages pursuant to 15 U.S.C. §1692k(a)(l) for mental anguish, stress

and humiliation.

               d. actual damages and attorney fees and costs pursuant to 15 U.S.C. §1681n.



                                 DEMAND FOR JURY TRIAL

       57.     The averments set forth in paragraphs 1-56 are adopted herein and incorporated as

if set forth word for word.


       58.     Ralph demands a jury trial on all issues so triable.




                                              PRAYER

       WHEREFORE, Ralph prays that:

       1. She be granted statutory damages pursuant to the 15 U.S.C. §1692k(a)(2)(A);

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2. She be granted actual damages pursuant to the 15 U.S.C. §1692k{a)(l);

3. She be granted costs and attorney fees pursuant to 15 U.S.C. §1692k(a)(3).

4. She be granted actual damages, costs and attorney fees pursuant to 15 U.S.C. §1681n.




                                                   Respectfully submitted,




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                IN THE DISTRICT COURT OF PIDLLIPS COUNTY, ARKANSAS
                                  HELENA DIVISION

PORTFOLIO RECOVERY ASSOCIATES, LLC                                                               PLAINTIFF

v.                                     CASE NO.      CV-If;-~
DEBORAH RALPH                                                                                  DEFENDANT

                                               COMPLAINT

        Comes the Plaintiff and for its cause of action against the Defendant, states:

      1. That the Plaintiff is a foreign limited liability company authorized to bring this action under Ark.
Code Ann.§ 4-32-1008.

        2. That the Defendant is a resident of Phillips County, Arkansas.

        3. Jurisdiction and venue are proper in this Court.

        4. That Defendant purchased certain items with extensions of credit obtained on his/her GE
CAPITAL RETAIL BANK account. This account was purchased by, and assigned to the Plaintiff for good
and valuable consideration. The cardmember agreement is not available and therefore good cause exists for
the Agreement to not be attached to this Complaint. Plaintiff will amend this Complaint if the cardmember
agreement becomes available.

        5. That the amount past due on said account, which has not been paid, and has been owed for a
period of time is as follows, principal amount, $1,092 .97, as set out inPlaintiff s Affidavit which is attached
hereto and incorporated herein by reference.

        6. That demand had been made for the payment of same, yet the balance remains unpaid.

        WHEREFORE, Plaintiff prays for Judgment against Defendant in the amount of$ 1,092.97, for all
costs herein paid and expended, and for all other proper relief.


                                                   Allen & Withrow
                                                   Attorneys at Law
                                                   P.O. Box 17248
                                                   Little o k, AR 72222



                                                     ri Withrow (98069)
                                                   Colton Gregory (2013181)
                                                   Gary J. Barrett (2000071)




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                                                            AFFIDAVIT

State of Virginia
City of Norfolk ss.
                          Larry E. Whitaker
I, the undersigned, - - - - - - - - - - - - - ' Custodian of Records, for Portfolio Recovery Associates, LLC
hereby depose, affirm and state as follows:

1.      I am competent to testify to the matters contained herein.

2.      I am an authorized employee of Portfolio Recovery Associates, LLC, ("Account Assignee") which is doing
business at Riverside Commerce Center, 120 Corporate Boulevard, Norfolk, Virginia, and I am authorized to make the
statements, representations and averments herein, and do so based upon a review of the business records of the Original
Creditor GE CAPITAL RETAIL BANK/CARE CREDIT and those records transferred to Account Assignee from GE
CAPITAL RETAIL BANK ("Account Seller"), which have become a part of and have integrated into Account
Assignee's business records, in the ordinary course of business.

3.       According to the business records, which are maintained in the ordinary course of business, the account, and all
proceeds of the account are now owned by the Account Assignee, all of the Account Seller's interest in such account
having been sold, assigned and transferred by the Account Seller on 8/20/2013. Further, the Account Assignee has been
assigned all of the Account Seller's power and authority to do and perform all acts necessary for the settlement,
satisfaction, compromise, collection or adjustment of said account, and the Account Seller has retained no further interest
in said account or the proceeds thereof, for any purpose whatsoever.

4.        According to the records transferred to the Account Assignee from Account Seller, and maintained in the ordinary
course of business by the Account Assignee, there was due and payable from DEBORAH RALPH ("Debtor and Co-
Debtor") to the Account Seller the sum of $1,311.55 with the respect to account number ending in        . as of the date of
7/14/2013 with there being no known un-credited payments, counterclaims or offsets against the said debt as of the date of
the sale.

5.       According to the account records of said Account Assignee, after all known payments, counterclaims, and/or
setoffs occurring subsequent to the date of sale, Account Assignee claims the sum of $1,092.97 as due and owing as of the
date of this affidavit.

6.      Plaintiff believes that the defendant is not a minor or an incompetent individual, and declares that the Defendant is
not on active military service of the United States.




B y : - - - - - - - - - - - - ' Custodian of Records


Subscribed and sworn to before me on             OCT 14 2014

[ll~~~---
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      ..
Notary Public                                         ·
                                                            ELICIA LEE MARIE DAVIS
                                                                NOTARY PUBLIC
                                                            REGISTRATION# 75.80250
                                                     ":' ' COMMONWEALTH OF VIRGINIA
                                           ...   ~          MY COMMISSION EXPIRES
        "I:.                                                 OCTOBER 31, 2017
         ~                       This commumcat10n is rom a e co ec or ana is an attempt to collect a debt.
                                           Any information obtained will be used for that purpose.


14-03264-0
